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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

               v.
                                            Crim. No. 18-CR-32-2 (DLF)
 CONCORD MANAGEMENT AND
 CONSULTING LLC,

                Defendant.


              GOVERNMENT’S DISCUSSION OF DIFFERENCES BETWEEN
                  THE PARTIES’ PROPOSED JURY INSTRUCTIONS

       The United States of America, by and through undersigned counsel, respectfully submits

this response to Concord’s brief concerning proposed jury instructions (Doc. 280).

       A.      Notetaking by Jurors

       The parties agree that whether to allow jurors to take notes is subject to the Court’s

discretion. Doc. 280, at 1; Doc. 281, at 2; see 1 Criminal Jury Instructions for DC Instruction

1.105. In the government’s experience, permitting jurors to take notes is the common, if not

standard, practice in this District. This is an increasingly standard practice throughout the

country. 1 And it is an increasingly standard recommendation by experts and committees studying

the jury system. See, e.g., American Bar Ass’n, Standards for Criminal Justice, Standard 15-3.5


       1
          See, e.g., United States v. Robinson, No. 15-cr-20652, 2019 WL 1778866, at *1 (E.D.
Mich. Apr. 23, 2019); United States v. Ganesh, No. 16-cr-211, 2017 U.S. Dist. LEXIS 224392
(N.D. Cal. Oct. 20, 2017); see generally 5 Business and Commercial Litigation in Federal Courts
§ 46:2 (4th ed. Nov. 2019) (“The practice of allowing jurors to take notes during trial has broad
support.”); Hon. Antoinette Plogstedt, E-Jurors: A View From The Bench, 61 Clev. St. L. Rev.
597, 614-615 (2013) (“[I] n the 21st century, most courts now allow jurors to take notes.”); Nancy
S. Marder, Jury Reform: The Impossible Dream?, 5 Tenn. J. L. & Pol’y 149, 162 n.51 (2009)
(“The trend is toward allowing jurors to take notes, but not all courts have adopted this practice.”)
(citation omitted); Tom M. Dees, Juries: On the Verge of Extinction? A Discussion of Jury Reform,
54 SMU L. Rev. 1755, 1773 (2001) (“[T]he growing consensus is in favor of allowing jury note-
taking.”).
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(Dec. 2018); American Bar Ass’n, Principles Relating to Juries and Jury Trials, Principle 13 (2016

revision); Council for Court Excellence, District of Columbia Jury Project, Juries for the Year

2000 and Beyond: Proposals to Improve the Jury System in Washington, D.C. (1998). For at least

some jurors, notetaking helps them pay attention, serves as a useful memory aid, and is a helpful

resource when later trying to locate exhibits in a voluminous trial record. The complex and

document-heavy nature of this case only underscores the merits of permitting jurors to take notes.

See, e.g., United States v. Polowichak, 783 F.2d 410, 413 (4th Cir. 1986); Federal Judicial Center,

Manual for Complex Litigation 3d, § 22.421 (4th ed. May 2019).

       Concord cites three examples of courts prohibiting jurors from taking notes. Doc. 280,

at 2. The government does not dispute that some courts have, and still do, prohibit jurors from

taking notes. But the fact that Concord cites only three examples, two of which are over 25 years

old, illustrates that this is an increasingly uncommon practice. In fact, one of Concord’s cases

noted that back in 1993, there was “ongoing argument” about whether jurors should be allowed to

take notes and merely held that in light of the unresolved debate, the district court “did not abuse

its broad discretion” by ordering jurors not to do so. United States v. Baker, 10 F.3d 1374, 1403

(9th Cir. 1993). And in another of Concord’s three cases, the district court allowed jurors to take

notes while reviewing exhibits but not while witnesses were testifying. United States v. Darden,

70 F.3d 1507, 1536 (8th Cir. 1995).

       Concord asserts (Doc. 280, at 2-3), with little support, that taking notes could detract from

jurors’ ability to focus on testimony or evidence or could result in certain jurors—here those who

take detailed notes—having additional sway during deliberations. Arguments like these have long

formed one side of the debate on notetaking, but significant literature suggests that “[n]one of these

concerns have been borne out in research.” E.g., 2 Jurywork Systematic Techniques § 16:21 (Nov.



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2019 update). While the empirical evidence is not entirely one sided, study after study suggests

that notetaking aids attention and memory and has little, if any, of these effects. 2 Additionally,

many of these concerns can be addressed with “appropriate instructions.” Wayne R. LaFave, et

al., Criminal Procedure § 24.9(b) & n.21 (4th ed. Dec. 2019 update); see, e.g., United States v.

Maclean, 578 F.2d 64, 66 (3d Cir. 1978) (“We are confident that the dangers of note-taking can

be substantially avoided by proper instruction to the jury.”). Thus, as noted, courts and expert

committees—including the American Bar Association and a panel of judges in Washington,

D.C.—increasingly recommend that jurors be allowed to take notes. The government respectfully

suggests that this Court follow that practice.

       B.      Corporate Defendant Appearing Through Counsel

       Although Concord has identified no example of a court having done so, if the trial proceeds

with Concord appearing only through counsel and without any other representative in court, the

government does not oppose instructing the jury that it should not draw any adverse inference from

that fact. Doc. 280, at 4; Doc. 281, at 2-3. As the government has explained, however, Concord’s

requested instruction includes language that is unnecessary and risks misstating the law. Doc. 281,

at 2-3. Concord’s brief does not explain why the disputed sentence is necessary or what it

communicates to the jury that the rest of Concord’s novel instruction does not.




       2
          See, e.g., Mark W. Bennett, Reinvigorating and Enhancing Jury Trials Through an
Overdue Juror Bill of Rights, 48 Ariz. St. L.J. 481, 510-511 & nn. 122-125 (2016); Matthew A.
Reiber & Jill D. Weinberg, The Complexity of Complexity: An Empirical Study of Juror
Competence in Civil Cases, 78 U. Cin. L. Rev. 929, 965-966 & n.73 (2010); B. Michael Dann and
Valerie P. Hans, Recent Evaluative Research on Jury Trial Innovations, 41 Court Rev. 12, 13-14
(2004); Douglas Smith, Structural and Functional Aspects of the Jury: Comparative Analysis and
Proposals for Reform, 48 Ala. L. Rev. 441, 572-577 (1997); Steven Penrod & Larry Heuer,
Tweaking Commonsense, 3 Psychol. Pub. Pol’y & L. 259, 268 (1997); Leonard B. Sand & Steven
Alan Reiss, Report on Seven Experiments Conducted by District Court Judges in the Second
Circuit, 60 N.Y.U. L. Rev. 423, 446-452 (1985).
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        C.      Corporate Responsibility

        The parties agree that there should be an instruction about corporate responsibility and

agree on most of the substance of that instruction. Doc. 280, at 5-8; Doc. 281, at 3-4. The only

issue is whether to instruct the jury that a corporation is liable for its agent’s acts when, in addition

to being done to benefit the corporation (Doc. 248-1, at 7), the acts either “concern a matter that

the corporation generally entrusted to the agent” (government’s formulation) or “relate directly to

the performance of the agent’s general duties” (Concord’s formulation).

        Concord declares that the government’s (and Seventh Circuit’s) formulation is “contrary

to the well-settled law on corporate responsibility” and “risks imposing liability on a corporation

for conduct by its employees that falls outside the scope of their employment duties.” Doc. 280,

at 5. While Concord agrees with the government that the Restatement of Agency provides an

appropriate guidepost, id. at 5-6, Concord relies on a long-superseded version of the restatement,

dating from 1958. As the government argued (Doc. 281, at 4), the Restatement (Third) of Agency

(2005) asks whether the employee was “performing work assigned by the employer” or engaged

in “an independent course of conduct not intended by the employee to serve any purpose of the

employer.” Id. § 7.07. This more closely resembles the government’s proposed instruction, which

links the agent’s act to the matters assigned to him without the potentially-confusing term “relate

directly.”

        Even the Second Restatement, cited by Concord, asks whether the conduct was “of the

kind” the agent “is employed to perform”—a standard that still more closely mirrors the

government’s proposed language, which asks whether the conduct “concern[ed] a matter that the

corporation generally entrusted to the agent,” than Concord’s requirement that the act must “relate

directly” to the agent’s duties. In fact, the very next section of the Second Restatement went on to



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clarify that the conduct must “be of the same general nature as that authorized, or incidental to the

conduct authorized.” Id. § 229(1) (emphasis added). Conduct could be of the same general nature

or incidental to that authorized but not “relate directly” to the employee’s duties.           As the

government has explained, the term “relate directly” may incorrectly suggest that the act itself had

to have been authorized by corporate officers or a broader corporate body and may incorrectly

suggest excluding circumstances where the employee had apparent, even if not actual, authority to

take the act. See Doc. 281, at 4 (citing cases); see also, e.g., United States v. Oceanic Illsabe Ltd.,

889 F.3d 178, 192 (4th Cir. 2018) (similar formulation to that proposed by the government); United

States v. Hilton Hotels Corporation, 467 F.2d 1000, 1004 (9th Cir. 1972) (corporation can be

criminally liable “without proof that the conduct was within the agent’s actual authority”).

       Concord’s argument by example (Doc. 280, at 6) is fanciful. By characterizing the Internet

Research Agency (“IRA”) employees’ duties at the highest possible level of generality (“use of

computers and other internet-connected devices”), Concord suggests that virtually any use of

electronics could result in corporate liability for the IRA. Beyond the fact that the IRA is not the

defendant in this trial, Concord ignores that the act must also have been to benefit the corporation.

See Doc. 248-1 (part 3 of the proposed instruction). More to the point, Concord’s instruction

would raise the same concerns, insofar as “the jury could potentially find any acts that [relate

directly to] computers and internet connected devices to fall within the scope of those individual’s

employment.” See Doc. 280, at 6 (Concord’s argument with Concord’s legal standard substituted

in). If a corporate employee undertakes an act that concerns a matter entrusted to him by the

corporation and he does so to benefit the corporation, then the corporation can be held liable.

Taking aim at a straw man cannot overcome the analytical problems with Concord’s proposed

instruction.



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       D.      Suppression or Fabrication of Evidence

       The government suggested that, if supported by the evidence admitted at trial, the Court

should give the jury a standard instruction that if the jury finds there was intentional suppression

of evidence, the jury may consider that fact in determining guilt. Doc. 248-1, at 10. The

Superseding Indictment alleges that conspirators “deleted and destroyed data, including emails,

social media accounts, and other evidence of their activities” and alleges two concrete examples:

(1) The ongoing deletion of operational email accounts in response to public reporting, and (2) a

particular set of “covering tracks” that occurred in 2017. Doc. 247 ¶ 58. As the government has

explained (Doc. 281, at 5), if the evidence admitted at trial does not support a finding that these

activities occurred, then no such instruction would be warranted.        But at this point in the

proceedings, the government intends to introduce evidence, which it believes is admissible, of

evidence suppression. See Doc. 281, at 5 (citing Fed. R. Evid. 801(d)(2)(D); Fed. R. Evid.

801(d)(2)(E); and Fed. R. Evid. 804(b)(3)).

       Concord ignores the allegation of ongoing destruction of operational email accounts. And

with respect to an e-mailed admission by a conspirator that “the FBI busted [their] activity (no

joke)” and she was busy “covering tracks” (Doc. 247 ¶ 58d), Concord argues only that this

individual sometimes sent false or misleading emails. That observation alone does not defeat the

government’s request for the proposed jury instruction. The government intends to file a motion

in limine regarding the admission of this email. If the Court grants the government’s motion and

admits the email, then this jury instruction will be appropriate to advise the jury on one issue

concerning how it may consider the email. In any event, contrary to Concord’s assertion (Doc.

280, at 9-10), the fact that a conspirator may have sometimes lied does not render all admissions

by her “irrelevant.” Concord additionally declares (id. at 9) that because the government collected



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that conspirator’s email describing efforts to conceal and destroy evidence, it “proves the

opposite.” But the fact that the government recovered one personal email admitting to destruction

of evidence does not show that no such destruction ever occurred. Criminals sometimes destroy

some but not all evidence, attempt to destroy evidence but fail, or destroy evidence in their

possession but not backups to which they lack access. If the evidence at trial points in different

directions about whether the conspirators destroyed evidence, then the jury may weigh that

evidence and rely on it when considering the charge at issue.

       E.      Unanimity and Verdict Form

       1. As a threshold matter, no special unanimity instruction is warranted. A jury’s verdict

must be unanimous, but “there is no general requirement that the jury reach agreement on the

preliminary factual issues which underlie the verdict,” such as the “means of commission,” so long

as the jurors “agree upon the bottom line.” Schad v. Arizona, 501 U.S. 624, 631-632 (1991)

(plurality op.); see also United States v. Hurt, 527 F.3d 1347, 1352-1353 (D.C. Cir. 2008). In a

conspiracy, “the agreement itself is the crime,” and the government “need not show that the

conspirators agreed on the details of their criminal scheme” but rather the “essential nature of the

plan,” i.e., “what kind of agreement or understanding existed” and the “type of conduct” agreed

to. United States v. Treadwell, 760 F.2d 327, 336-337 (D.C. Cir. 1985). As the government has

explained, the essential nature of the charged plan was to engage in “information warfare” to

spread distrust about the U.S. political system and to influence the outcome of the 2016 presidential

election and “to obstruct through fraud and deceit the lawful functions of the United States

government in monitoring, regulating, and enforcing laws concerning foreign influence on and

involvement in U.S. elections and the U.S. political system.” Doc. 247 ¶ 7; accord id. ¶ 28 (object

of the conspiracy).



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       The jury need not be unanimous as to exactly what facet of those government functions the

conspirators had in mind. See Treadwell, 760 F.2d at 335-337 (upholding jury instruction that

described as one “object” a conspiracy “[t]o defraud the United States and its agencies of their

lawful right to conduct their business and affairs, particularly HUD’s housing programs for low

and moderate income tenants and IRS’ administration and enforcement of the tax laws of the

United States”). That is particularly apparent here, where the conspiracy entailed interrelated and

overlapping deceptive conduct aimed at impairing a cluster of interrelated and overlapping

government functions. The conspirators need not have known, for example, whether American

law distinguishes between different overlapping methods of foreign influence and, if so, where

those lines fall (such as efforts to influence public opinion on political candidates versus policy

issues); whether the American government addresses such categories differently (for example,

with a categorical ban versus a disclosure regime); whether the same or different agencies police

these areas; and, if so, exactly what agency regulated what and where the lines fell. See Doc. 74,

at 24-25 (this Court’s memorandum opinion explaining that the government need not show specific

knowledge about the government’s administration of disclosure requirements but “general

knowledge that U.S. agencies are tasked with collecting” certain kinds of information suffices).

The jury therefore need not be unanimous on exactly what facet of these interrelated government

functions the conspirators targeted. See Treadwell, 760 F.2d at 335-337; see also United States v.

Tham, 960 F.2d 1391, 1400 (9th Cir. 1992) (explaining in the context of a sentencing decision that

a defendant “was charged with conspiring to defraud the United States by three means” where the

conspiracy entailed overlapping deceitful conduct aimed at impeding an FBI’s investigation and

corrupting related judicial proceedings) (emphasis added); cf. Schad, 501 U.S. at 631-632 (jury

need not be unanimous on the “means of commission”). This charge no more requires a special



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unanimity instruction than a conspiracy to deprive the government of several parcels of money or

property.

       Relying on a line of cases that pre-dates Schad, Concord contends that a special unanimity

instruction is necessary to address a risk of “different jurors concluding the defendant committed

different acts.” Doc. 280, at 11-13. In that line of cases, the D.C. Circuit had suggested (albeit

sometimes in dicta) that “when an indictment charges several distinct conceptual grouping of

activities in an individual count, as opposed to a single conceptual grouping of related facts, the

jury must agree unanimously as to which of these distinct groupings the defendant is guilty.”

United States v. North, 910 F.2d 843, 876 (D.C. Cir. 1990), opinion withdrawn, 920 F.2d 940,

950-951 (D.C. Cir. 1990) (cited at Doc. 280, at 12). 3

       As the D.C. Circuit has recognized, the analysis set forth in the cases cited by Concord has

been superseded by Schad. See Hurt, 527 F.3d at 1352-1353 (noting that “[f]ive Justices agreed

in Schad that jurors need not reach unanimity as to the means of committing a crime, and where

the Court has gone, we have followed,” and citing post-Schad cases holding that special unanimity

instructions were not necessary); see also, e.g., United States v. Gonzalez, 786 F.3d 714, 718-719

(9th Cir. 2015) (holding that in light of Schad, jurors need not be unanimous on what overt act was

committed in furtherance of a conspiracy, and noting agreement with the Second, Fifth, and

Seventh Circuits). Schad explained that by requiring unanimity as to what “conceptual grouping”

of acts was proven, some lower courts had mistakenly imposed a requirement that juries agree not




       3
          See also United States v. Sayan, 968 F.2d 55, 65 (D.C. Cir. 1992) (cited at Doc. 280, at
11) (rejecting ineffective assistance claim where defense counsel failed to request special
unanimity instruction under North); United States v. Hubbard, 889 F.2d 277, 279 (D.C. Cir. 1989)
(cited at Doc. 280, at 12) (rejecting argument on plain error); United States v. Mangieri, 694 F.2d
1270, 1281 (D.C. Cir. 1982) (cited at Doc. 280, at 11-12) (rejecting argument on plain error).
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just on the elements of the crime but also on predicate facts. See 501 U.S. at 634-635 (plurality

op.); id. at 648-652 (op. of Scalia, J.). 4

         Since Schad, the D.C. Circuit has adopted a different approach from the one set forth in

the pre-Schad cases cited by Concord, asking instead whether a conviction under the statute at

issue without a special unanimity instruction violates the Due Process Clause. See Hurt, 527 F.3d

at 1353. Concord does not attempt to show it can meet that standard, and with good reason.

Section 371 does not “creat[e] a mishmash” of crimes, id., but rather criminalizes one crime—a

conspiracy to defraud the United States.        The particular governmental functions that the

conspirators hoped to impede and the particular means for interfering with those functions are

methods of committing the crime, not different crimes, and therefore the Due Process Clause does

not demand a special unanimity instruction under Schad and its progeny.

        In any event, even under pre-Schad cases, no special unanimity instruction would be

warranted. Initially, there is little risk of “different jurors concluding the defendant committed

different acts” (Doc. 280, at 11-13), because the crime charged here is a conspiracy, and the “act”

is therefore “the agreement itself.” Treadwell, 760 F.2d at 336. To be sure, the jury must be

unanimous as to what the defendant agreed to. But that is only the “essential nature of the plan”

and not the further “details” of the “scheme.” Id. at 336-337. More to the point, even under that

line of cases, the jury had to agree on a “conceptual grouping” of acts supporting the charge, but

not on the specific act they believe the defendant committed. North, 910 F.2d at 876. As

discussed, the charged conspiracy does not include several, unrelated objects, but instead concerns



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         In so doing, Schad overruled several of the cases relied on by Concord here. See 501
U.S. at 634-635 (citing, inter alia United States v. Gipson, 553 F.2d 453 (5th Cir. 1977) (relied by
Concord at Doc. 280, at 12-13), and United States v. Beros, 833 F.2d 455 (3d Cir. 1987) (relied on
by Concord at Doc. 280, at 12)); see also Mangieri, 694 F.2d at 1280-1281 (describing the pre-
Schad division).
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a unified effort to use interrelated and overlapping acts to impair the government’s interrelated and

overlapping functions of policing foreign influence. Therefore, by analogy to the prior “conceptual

grouping” test, no special unanimity instruction would be warranted. Cf. Sayan, 968 F.2d at 65

(“a count charging a series of similar acts in furtherance of a fraudulent scheme falls into a single

conceptual grouping that does not require a special unanimity instruction”). 5

       2. If a special unanimity instruction were warranted, the government does not believe that

a further interrogatory or special verdict form is appropriate. As Concord concedes, “special

interrogatories in a criminal case are generally disfavored.” Doc. 280, at 13; see Black v. United

States, 561 U.S. 465, 472 & n.11 (2010). Juries “are presumed to follow their instructions,”

Richardson v. Marsh, 481 U.S. 200, 211 (1987), including instructions on unanimity. Concord

provides no convincing reason to overcome those presumptions.

       Concord broadly states (Doc. 280, at 13-14) that special verdict forms can be useful in

“complex” cases or where there are a “multiplicity of objects.” Concord fails to acknowledge the



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         In addition to relying on this series of dated cases, Concord notes that during the argument
on one of its earliest motions to dismiss, the government suggested that the jury would have to be
unanimous “as to the lawful government function that’s interfered with.” Doc. 280, at 11(quoting
10/15/18 Tr. 29). That hearing did not concern the question now at issue. In response to a question
from the Court about the nature of Count One, government counsel correctly declined to describe
the charged crime as “a single conspiracy with three different objects” but instead described it as
“a defraud clause conspiracy” where there were “three different lawful government functions that
were alleged to have been interfered with.” 10/15/18 Tr. 28. As it does in this filing, the
government observed that the alleged conspiracy did not concern disparate acts “directed to
individual lawful government functions” but rather “a larger conspiracy to defraud that included
defrauding several different federal government agencies at the same time.” Id. at 29. In the
midst of that colloquy, counsel for the government stated, “I believe that they would, that the jury
would have to be unanimous as to the lawful government function that’s interfered with.” Id. In
so far as a conspiracy does not require that any function was “interfered with,” that answer was
imprecise. But as reflected by counsel’s prefatory statement that he “believe[d]” the jury would
have to be unanimous, the government had not yet focused on the question of specific unanimity
fifteen months ago, and government counsel was answering that question on his feet. With the
benefit of research and further consideration, the government does not believe that special
unanimity is required.
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countervailing risk that special verdicts “may in fact be more productive of confusion than of

clarity.” United States v. Stonefish, 402 F.3d 691, 697 (6th Cir. 2005). And Concord’s examples

of the complexity that could warrant a special verdict form only underscore that a special verdict

is unnecessary here. For example, in United States v. Ogando, 968 F.2d 146 (2d Cir. 1992) (cited

at Doc. 280, at 13-14), two different defendants were charged with multiple drug and firearm

crimes, including “operating a continuing criminal enterprise (‘CCE’), in violation of 21 U.S.C.

§ 848(a),” which has multiple elements that themselves include a nested series of drug offenses.

Id. at 146-148. The six-week trial included testimony by 25 government witnesses and 150

government exhibits, including “a leger . . . chronicling two months of daily narcotics activities in

the [drug] organization.” Id. at 147, 149. When the parties could not agree on an appropriate

form of special verdict, the district court declined to require one, and the Second Circuit held that

the district court did not abuse its discretion. Id. at 149; see also, e.g., United States v. Recognition

Equip., Inc., 711 F. Supp. 1, 4, 6 (D.D.C. 1989) (cited at Doc. 280, at 14) (stating in dictum when

denying a motion to dismiss a multi-object, multi-defendant conspiracy that involved a “kickback

arrangement” to fund “illegal actions” on one defendant’s behalf, a “scheme to replace the

Postmaster General,” “theft of property,” “mail and wire frauds,” and “four conspiratorial objects

alleging corruption of Postal Service operations,” that a “special verdict form” would be

warranted).

        3. Concord also does not defend its extraordinary special verdict form. As the government

has explained (Doc. 281, at 9-11), Concord’s proposed interrogatories use language that departs

from the accepted jury instructions for a conspiracy to defraud the United States, require long

written answers and factual descriptions, but see Ogando, 968 F.2d at 149 (cited by Concord at

Doc. 280, at 13-14) (endorsing “multiple-choice formats”), and mistakenly suggest elements that



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are not required for the charged crime. Concord simply declares (Doc. 280, at 13 n.3) that because

the government did not propose its own special verdict form, the government has “waive[d]” any

objections to Concord’s proposed form and “the Court should adopt Concord’s proposed form.”

The government did not propose a special verdict form because it does not believe such a form is

necessary. It is also anomalous to craft a special verdict form before the Court has determined

whether a special unanimity instruction is necessary, if so whether a special verdict form is also

necessary, and how it will instruct the jury on the elements of the crime. The Court should not

choose to use a verdict form that is confusing and replete with legal errors based on such a theory

of “waiver.” Should the Court conclude that a special verdict form is warranted, the government

requests the opportunity to provide the Court with an alternative form that is less confusing and

that accurately states the elements on which the jury must be unanimous.

       F.      Proof of State of Mind

       The government has requested a standard instruction stating that intent and knowledge

cannot ordinarily be proved directly and that a jury can infer intent and knowledge from speech,

acts, omissions, and other facts and circumstances. Doc. 248-1, at 16. Concord does not dispute

that proposition, i.e., that intent may be inferred from acts, omissions, and the totality of the

circumstances. In fact, the case that Concord primarily relies on makes that very point. United

States v. Philip Morris, 566 F.3d 1095, 1118 (D.C. Cir. 2009). Concord instead asserts (Doc. 280,

at 15) that such an instruction could “open the door” to the jury imposing liability based on

“collective intent,” whereby it aggregates the knowledge and intentions of many people. The

government does not see how this proposed, standard instruction about proving state of mind

suggests imposing liability under a theory of collective intent. Concord cites no case, and the




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government is aware of none, where a court held on that basis that it is improper to give this

standard instruction about proving state of mind.

       To the extent that Concord believes that some further instruction is necessary for evaluating

an entity’s intention in joining a conspiracy, Concord was free to propose such an instruction but

has not done so. In fact, while Concord’s stated objection concerns the imposition of liability on

corporate defendants, its own proposed instruction on corporate liability does not address the issue

at all. This may be because the standard corporate liability instructions proposed by both parties

tie together the act and scienter by making clear that a single agent must have “intentionally

join[ed] in the agreement.” Doc. 248-1, at 7, 8. Concord’s concern about “collective intent” is

not a basis to vary from the standard instruction on corporate criminal liability or not to give a

standard instruction of proof of state of mind.

       G.      Good Faith

       Concord appears to argue that defendants are always entitled to “good faith” instructions,

regardless of the scienter for the charged crime, the defense’s actual theory of the case, or the

evidence adduced at trial. See Doc. 280, at 17-18. As discussed (Doc. 281, at 12), Concord also

would also use a good faith instruction that could not apply to this case: by instructing the jury that

there was “no crime” if “Concord believed in good faith that it was acting properly,” (Doc. 248-1,

at 17), Concord effectively inserts the very willfulness element into Count One that the Court has

repeatedly rejected.

       If Concord’s theory of the case is that Concord acted in good faith in such a way that

negates an element of the crime, and that theory has a foundation in the evidence at trial, then

Concord can request such an instruction. See United States v. Hurt, 527 F.3d 1347, 1350-1352

(D.C. Cir. 2008) (explaining that the charged crime required a certain scienter, that a particular



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formulation of good faith means the defendant “lacks the necessary mens rea” for the charged

crime, and that a court should issue such an instruction “if there is sufficient evidence from which

a reasonable jury could find for the defendant on his theory”) (quotation marks omitted).

Concord’s citations only underscore that basic point. See, e.g., United States v. Bowser, 318 F.

Supp. 3d 154, 175-176 (D.D.C. 2018) (cited twice by Concord) (giving defense theory of the case

instruction in a false statements case that if the defendant made the charged statements with a

“good faith belief in [their] accuracy,” then “it is not a crime’”).

       Contrary to Concord’s assertion (Doc. 280, at 17), it is not the government’s burden to

establish “the absence” of any kind of good faith. Rather, the government bears the burden to

prove that Concord acted with the mens rea required for this conspiracy charge. See Hurt, 527

F.3d at 1350-1351 (cited by Concord) (reviewing the specific intent requirements for theft of

government properly under 18 U.S.C. § 641 and explaining why a particular conception of good

faith—“a good faith but mistaken belief that the stolen property belong[ed] to him”—would negate

that element of the crime); see also, e.g., United States v. Bowling, 619 F.3d 1175, 1183 (10th Cir.

2010) (“join[ing] the majority of courts that hold a separate good faith instruction is no longer

necessary where a district court properly instructs the jury on the element of intent”); United States

v. Given, 164 F.3d 389, 394-395 (7th Cir. 1999) (a defendant “is entitled to have the jury consider

any theory of defense supported by the law if it has some foundation in the evidence” but “is not

entitled to a specific good faith instruction, however, so long as, considering the instructions as a

whole, the jury was adequately instructed upon his theory of defense”).

       Concord appears to argue the Court should nonetheless give a good faith instruction (and

presumably Concord’s requested instruction), to avoid any risk of error. See Doc. 280, at 18.

Concord primarily relies on United States v. Casperson, 773 F.2d 216 (8th Cir. 1985), which held



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that although the court correctly instructed the jury on the required scienter for an elaborate mail

and wire fraud scheme, the court erred by declining to give good faith and theory-of-the-defense

instructions requested by the defendants. Id. at 222-224. But the court there made clear that the

defendants were entitled only to instructions that would negate the required intent and where “the

evidence supports the proffered instruction.” Id. at 223. Because “the entire defense in th[e] case

was that the alleged false statements and representations were made with a genuine belief that they

were true,” the court concluded that such an instruction was appropriate. Id. And in light of the

complexity of the charged scheme, specificity of that defense, length of trial, and large number of

defendants, the court found that the error was not harmless. Id. at 223-224. As the Tenth Circuit

subsequently noted, the Eighth Circuit’s decision in Casper is an unusual outlier that departs from

the practice of every other circuit and from subsequent cases in the Eighth Circuit itself. See

United States v. Chavis, 461 F.3d 1201, 1209 n.1 (10th Cir. 2006). Although “[t]he Eighth Circuit

has not expressly overruled its statement that a good-faith instruction is required,” it “has implicitly

done so by holding that the requirement is satisfied by a proper specific-intent instruction.” Id.;

see also, e.g., United States v. Howard, 245 F. Supp. 2d 24, 38-39 (D.D.C. 2003) (rejecting good

faith instruction where the instruction on “intention or purpose to deceive or cheat” had “accurately

recited the level of intent the government had to prove to establish the mail and wire fraud charges”

and citing Casper as an outlier).

       In any event, the government is not categorically opposed to any good faith instruction. As

discussed, if Concord’s theory of the defense is that it had some good faith belief or intention that,

in fact, negates the required scienter, and the evidence at trial can support that theory, then the

government does not oppose an appropriate instruction about that defense theory. See Hurt, 527

F.3d at 1350-1352. But Concord’s proposed good faith instruction does not negate the required



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intent for this crime but instead appears to be a back-door means of requiring willfulness. And it

is also premature to know what Concord’s theory of the case is and whether the evidence at trial

can fairly support it.

        H.      Conspiracy to Defraud the United States

        As the government has explained, Concord’s and the government’s proposed instructions

on conspiracy to defraud the United States differ structurally and substantively. Doc. 281,

at 13-17.

        1. The government’s instruction far more closely adheres to the standard instruction in this

jurisdiction on conspiracy and to the standard definition of a conspiracy to defraud the United

States used in pattern jury instructions. See Doc. 248-1, at 26-28; Doc. 281, at 13. The government

proposed two concrete additions to address concerns raised by Concord and the Court and to do

so as clearly, plainly, and accurately as possible. First, given Concord’s repeated observation that

it is not charged with conspiring to deceive the electorate and given the interrelated nature of the

deception at issue, the government proposed what should be an uncontroversial instruction: that

impeding lawful government functions must be an objective of the conspiracy but need to be the

sole or major objective. Doc. 248-1, at 29; see United States v. Gricco, 277 F.3d 339, 348 (3d Cir.

2003) (Alito, J.). Second, given that a failure to disclose information is generally deceptive only

if there was a duty to disclose and given Concord’s repeated efforts categorically to require a duty

to disclose, the government proposed additional language to explain the sorts of deception at issue

in this case and when and how a legal duty to disclose is necessary. See Doc. 248-1, at 29-30; see

also Doc. 281, at 13-14.

        Concord’s proposed instructions, by contrast, vastly depart from standard instructions for

conspiracies or conspiracies to defraud the United States. See Doc. 248-1, at 18-25. In particular,



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Concord would wrongly impose the willfulness requirement rejected by this Court, Doc. 281,

at 14; would incorrectly require a duty to disclose information even if the failure to disclose formed

no part of the proven conspiracy, id. at 15; and would insert ambiguous prolix about “specific

intent,” having “specifically agreed,” and “fraudulent” conduct that is not typically used in

instructions for conspiracies to defraud the United States and risks confusing the jury, id. at 14-17.

       2.   Concord appears to agree with the substance of the additions suggested by the

government. Concord, however, would reinvent the wheel by departing from standard model

instructions, by adding several elements to the charged crime, by cherry picking language from

instructions in individual cases—some of which do not concern conspiracies to defraud the United

States—and by inserting significant verbiage that is potentially confusing. The government

respectfully suggests that the Court adhere to standard instructions where possible and address

case-specific legal issues—such as the alleged multiple purposes of the conspiracy and the role of

a duty to disclose—in as simple and straightforward a manner as possible. Beyond issues of

structure and clarity, however, Concord asks for a number of substantive modifications to the

model instructions, some of which would add elements to the charged crime and would likely

confuse the jury. The government respectfully opposes those additions.

       a. First, Concord urges (Doc. 280, at 20-21) that the Court should instruct the jury that the

conspiracy ended on November 8, 2016—Election Day. This is the same issue that Concord raised

in its prior motion to strike material from the Indictment as surplusage (Doc. 208, at 3-4). The

Superseding Indictment alleges that the defendants sought to interfere with U.S. political and

electoral processes, that this effort eventually focused on the 2016 presidential election, and that it

then continued into 2018. E.g., Doc. 247 ¶¶ 2-6, 9-10, 28, 42-47, 58.         Contrary to Concord’s

claim, the Superseding Indictment does not allege that the conspirators solely sought to impede



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government functions in connection with the 2016 election. It even specifically alleges conduct

well after the election. Doc. 247 ¶ 58. In all events, it is premature to alter the period of the

charged conspiracy. If the evidence at trial does not support the allegation that the conspiracy

continued after 2016, then the Court can revisit the issue at that time. 6

       b. Second, Concord asks (Doc. 280, at 21) that the jury instructions should name the three

agencies that monitor and police foreign influence and that, the government has alleged, conduct

the lawful functions that were an object of the conspiracy. The government’s proposed instruction

instead lists the lawful government functions at issue (a list that will need to be expanded given

the Superseding Indictment). Doc. 248-1, at 29. The government does not object, however, to

naming the three agencies that conduct these functions.

       c. Third, Concord again contends (Doc. 280, at 22 n.5; see id. at 26) that a conspiracy to

defraud the United States should be limited to a conspiracy to obtain or deprive the government of

money or property. Although the government disagrees with Concord’s assertion about the better

reading of the term “defraud” in this statute, that is beside the point. Arguments about jury

instructions are not the proper place to re-argue the validity of the charged crime. And, in all

events, as this Court has already held, it is black-letter law that a “conspiracy to defraud the United

States” is “not confined to fraud as that term has been defined in the common law” but also

“reaches any conspiracy for the purpose of impairing, obstructing or defeating the lawful function

of any department of Government.” Hammerschmidt v. United States, 265 U.S. 182, 188 (1924);

see also, e.g., McNally v. United States, 483 U.S. 350, 359 & n.8 (1987); Tanner v. United States,

483 U.S. 107, 129-130 (1987); Dennis v. United States, 384 U.S. 855, 861 (1966); Glasser v.



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          Concord correctly notes that the Superseding Indictment alleges that the conspiracy
continued until January 2018. Doc. 247 ¶¶ 2, 9. The government agrees that is the appropriate
end date to include in the jury instructions.
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United States, 315 U.S. 60 (1942); Haas v. Henkel, 216 U.S. 462, 479-480 (1910); United States

v. Davis, 863 F.3d 894 , 898-899 (2017); United States v. Dean, 55 F.3d 640, 647 (1995); United

States v. Treadwell, 760 F.2d 327, 3365-337 (D.C. Cir. 1985).

       d. Fourth, Concord again urges (Doc. 280, at 22; see id. at 22-31) that the defendants must

“have known about the specific statutes creating the ‘functions’ with which the conspirators

allegedly conspired to interfere, acted intentionally to violate those statutes, and that their conduct

was unlawful under those statutes.” The Court has repeatedly (and correctly) rejected that

argument. To constitute a conspiracy to defraud the United States, one objective of the conspiracy

must have been to obtain money or property or to impede lawful government functions. But the

conspirators need not have known specifics about those functions, such as the “specific statutes”

(id.) authorizing them. See Doc. 74, at 24-25 (this Court’s memorandum opinion explaining that

the government need not show specific knowledge about the government’s administration of

disclosure requirements but “general knowledge that U.S. agencies are tasked with collecting”

certain kinds of information suffices). And the government does not have to show a violation of

those statutes. See id. at 8-9 (this Court’s holding that “conspiracies to defraud the government by

interfering with its agencies’ lawful functions are illegal because § 371 makes them illegal, not

because they happen to overlap with substantive prohibitions found in other statutes”) (collecting

cases). Section 371 prohibits conspiring to defraud the United States. Much as a defendant need

not know details of the money or property it hopes to obtain through fraud, it need not know

granular details of the functions it sought to impede. If a defendant conspires to seeks to impair

the government’s lawful functions through deceptive means, that is a crime. And defendants who

lack detailed knowledge of regulatory apparatuses but nonetheless try to impair the government

through deception are guilty of that crime. Concord again rehashes (Doc. 281, at 26-31) its list of



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arguments about notice and prosecutorial overreach. In so doing, Concord appears to acknowledge

that Section 371 does not itself require detailed knowledge of the governing statutes, but Concord

nonetheless asks the Court to add such a requirement.

       e. Fifth, Concord argues (Doc. 281, at 31-32) that to be guilty of a conspiracy to defraud

the United States, there must have been a duty to disclose information to the government. The

government does not dispute that for the mere failure to disclose information to constitute

deception, there must be a duty to disclose. Thus, the government has requested an instruction

clarifying that very point. See Doc. 248-1, at 29-30 (requesting an instruction to that effect). But

that is not an element of a conspiracy to defraud the United States, which requires only an

agreement to impede through deception.

       To be sure, a duty to disclose would provide a basis for inferring that the government was

a target and the intent to impede the government’s lawful functions in this area. See Doc. 74, at

15 (this Court’s observation). But as discussed (Doc. 281, at 10-11), a jury can base the inference

that the conspirators targeted the government on other facts, such as the conspirators’ disguising

IP addresses that the public would never see, the conspirators’ likely violation of the ban on foreign

electioneering and influence activities, and the risk that investigation in this area might impede the

influence operation. A duty to disclose is also not legally necessary for conspiring to impede the

lawful government functions alleged here.         Initially, the crime charged is conspiracy, not

“interference.” The Superseding Indictment also alleges with clarity government functions that

do not directly concern disclosure.       And with respect to the administration of disclosure

requirements, those functions include investigating and determining whether someone should

disclose. Thus, it is for the FEC and DOJ to obtain and review relevant information, to evaluate

whether and how the potentially-applicable laws apply, and to exercise their discretion in deciding



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how they wish to proceed. Using deceitful means to conceal information interferes with and

obstructs those functions. A party can obstruct lawful government functions of administering

disclosure requirements even if, at the end of the day, the responsible agencies may have concluded

that the statutes they enforce do not apply or may have declined to take enforcement action. These

are all issues of proof, however, to be resolved by the jury. They are not elements of count one

on which the jury must be instructed.

        f. Sixth, Concord criticizes the government (Doc. 280, at 32) for not proposing a detailed

instruction on the potentially applicable sections of FARA and FECA. As the government

explained (Doc. 248-1, at 30), because of the complexity of these statutory schemes and the fact

that the parties have not yet even exchanged exhibit lists, it is premature to address exactly which

provisions the jury should be instructed on. See generally, e.g., 22 U.S.C. 22 U.S.C. §§ 611(a),

(b), (c)(1)(i)-(iii), (g), (h), (o), (p), 612(a) (potentially applicable FARA provisions and

definitions). In light of the multitude of potentially-applicable provisions and the absence of model

instructions, the government would propose simply to describe the general disclosure requirements

and then mirror the statutory and regulatory text. Cf., e.g., United States v. Park, No. 05-cr-59,

Transcript p. 1696-1699 (July 12, 2006) (jury instructions on FARA). Although subject to change

based on the defense theory and exhibits, the government has submitted with this filing an

attachment that describes the likely relevant FECA and FARA disclosure requirements and

reproduces the potentially-applicable definitions. The government submits that a jury instruction

should be crafted from these definitions once the exhibits and testimony admitted at trial makes

clear which statutory provisions are implicated by the evidence.

        g. Seventh, Concord again contends (Doc. 280, at 33) that the jury should be required to

find willfulness (and instructed on that in yet a further part of the instructions), and further proposes



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language about “knowing[] participat[ion] in an unlawful plan.” This Court has repeatedly

rejected Concord’s efforts to insert a willfulness requirement. And the proposed reference to

knowing participation in an unlawful plan may wrongly suggest that the defendants must have

known their plan was illegal—the definition of willfulness. Concord’s reliance on United States

v. Bostick, 791 F.3d 127, 144 (D.C. Cir. 2015), underscores the problem. Like much of Concord’s

requested instructions, Concord’s proposed paragraph on intent when joining a conspiracy departs

from the model instructions used in this jurisdiction and, to the government’s knowledge, in other

courts. Bostick did not suggest or approve of the language Concord requests. To the contrary, the

only point at issue on the page cited by Concord is whether the jury instruction correctly required

the government to “prove each individual defendant’s involvement” in the multi-defendant drug

conspiracy charged there. Id.; see id. at 135-137 (describing the 90-count, multi-defendant case).

The D.C. Circuit found that the instruction did so, insofar as it “emphasized that to convict a

particular defendant of Count One, the jury must find that the individual defendant knowingly

participated in the conspiracy with the specific intent to further its objectives.” Id. at 144.

       To the extent that Concord is merely relying on the instruction quoted in Bostick, Concord

is departing (albeit slightly) from that instruction, and that instruction was crafted in a case that

required willfulness. See J.A. 6719, Bostick, supra. More to the point, the government respectfully

suggests that the Court use the model instructions from this jurisdiction rather than a particular

instruction given in 2001 in a multi-defendant, multi-count drug conspiracy. In fact, the model

instruction proposed by the government addresses Concord’s stated concern—“whether Concord

had the requisite intent to join the conspiracy” (Doc. 280, at 33)—by making clear that a defendant

must have “intentionally joined in the agreement,” “underst[oo]d[] the unlawful nature of the plan

and voluntarily and intentionally join[ed] in it with the intent to advance or further [its] unlawful



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object.” Doc. 248-1, at 26-27; see 1 Criminal Jury Instructions for DC Instruction 7.102. Other

than potentially inviting the jury to think in terms of willfulness, it is unclear what Concord’s

language would achieve or why the Court should depart from the model language.



                                     Respectfully submitted,


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